 1                                                              The Honorable Lauren King

 2

 3

 4

 5

 6

 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE

 9   STATE OF WASHINGTON, et al.,                 NO. 2:25-cv-00244-LK

10                    Plaintiffs,                 PLAINTIFFS’ REPLY IN SUPPORT OF
                                                  MOTION FOR CONTEMPT, SHORTENED
11      v.                                        TIME, AND ATTORNEYS’ FEES

12   DONALD J. TRUMP, in his official capacity    NOTE ON MOTION CALENDAR:
     as President of the United States, et al.,   Friday, March 14, 2025
13
                      Defendants.                 ORAL ARGUMENT REQUESTED
14

15

16

17

18
19

20

21

22

23

24

25

26


     PLS.’ REPLY ISO MOT. FOR                                ATTORNEY GENERAL OF WASHINGTON
     CONTEMPT, SHORTENED TIME,                                    Complex Litigation Division
     AND ATTORNEYS’ FEES                                          800 Fifth Avenue, Suite 2000
                                                                       Seattle, WA 98104
     NO. 2:25-cv-00244-LK                                                (206) 464-7744
 1                                                 TABLE OF CONTENTS

 2   I.     INTRODUCTION............................................................................................................. 1

 3   II.    ARGUMENT .................................................................................................................... 1

 4          A. Defendants Are in Contempt ..................................................................................... 1

 5          B. Defendants’ Response Shows, at Minimum, Plaintiffs Must Have Discovery ......... 5

 6          C. The Court Should Award Attorneys’ Fees ................................................................ 6

 7   III.   CONCLUSION ................................................................................................................. 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26


     PLS.’ REPLY ISO MOT. FOR                                          i                      ATTORNEY GENERAL OF WASHINGTON
                                                                                                   Complex Litigation Division
     CONTEMPT, SHORTENED TIME,                                                                     800 Fifth Avenue, Suite 2000
     AND ATTORNEYS’ FEES                                                                                Seattle, WA 98104
     NO. 2:25-cv-00244-LK                                                                                 (206) 464-7744
 1                                     I.         INTRODUCTION

 2          This Court determined that the Denial-of-Care and Gender-Ideology Orders

 3   unconstitutionally discriminated against transgender Americans and violated separation of

 4   powers. But Defendants now claim they can enforce those Orders, as long as they don’t explicitly

 5   identify them by name and pretend their actions—which just happen to be what the Orders would

 6   require—are not based on them. If this were the law, injunctions would be worthless.

 7          Luckily, it is not. At best, Defendants were too cavalier in adopting an extremely narrow,

 8   self-serving interpretation of this Court’s injunctions. At worst, they intentionally defied the

 9   Court. Either way, their conduct undermines this Court’s authority and creates the same

10   unconstitutional government action that originally brought Plaintiffs to court. This Court should

11   hold Defendants in contempt.

12                                          II.    ARGUMENT

13   A.     Defendants Are in Contempt

14          Defendants do not deny that this Court’s orders enjoin them from defunding institutions

15   providing gender-affirming care because they provide gender-affirming care, and further do not

16   contest that the grant they terminated was provided to an institution providing such care. They

17   argue, however, that their actions are consistent with this Court’s injunctions because they

18   terminated the grant not to implement or enforce the enjoined Orders, but because they

19   determined, independently of the Orders, that research involving transgender and gender-diverse

20   people is not worth the federal government’s money. Dkt.#253 p.6. And so, they contend, they

21   clawed back more than $200,000 on a grant that only had about $78,000 left (meaning that

22   money would have to be paid back) and terminated a years’ long research project that was a few

23   months away from the finish line. This doesn’t pass the smell test.

24          Defendants cannot avoid application of this Court’s injunctions by playing games. See

25   Simon v. City and Cnty. of San Francisco, 2024 WL 4314207 at *3 (N.D. Cal. Sept. 26, 2024)

26   (holding that party violated injunction where the party’s “behavior . . . is the same conduct that


     PLS.’ REPLY ISO MOT. FOR                         1                ATTORNEY GENERAL OF WASHINGTON
                                                                            Complex Litigation Division
     CONTEMPT, SHORTENED TIME,                                              800 Fifth Avenue, Suite 2000
     AND ATTORNEYS’ FEES                                                        Seattle, WA 98104
                                                                                   (206) 464-7744
     NO. 2:25-cv-00244-LK
 1   formed the basis for the Court’s injunction, and there can be no question that the conduct violates

 2   the spirit of the injunction”). The Court’s injunction prevented Defendants from defunding

 3   institutions providing gender-affirming care because they provide such care. Dkt.#161 p.27

 4   (finding that “the serious harms caused to transgender youth by depriving them of

 5   gender-affirming care” was irreparable injury); Dkt.#233 p.30 (finding that “condition[ing] grant

 6   funding based on whether grant recipients offer—among other things—gender-affirming

 7   services for gender dysphoria” constitutes discrimination subject to heightened scrutiny).

 8          Whether unconstitutional discrimination occurs by reason of the challenged Orders or

 9   some “new” decision clearly influenced by them—as Defendants claim—is beside the point. See

10   F.V. v. Jeppesen, 466 F. Supp. 3d 1110, 1118 (D. Idaho 2020) (holding injunction against policy

11   prohibiting changing one’s sex on a birth certificate applied to newly enacted law accomplishing

12   the same purpose); Inst. of Cetacean Research v. Sea Shepherd Conservation Soc’y, 774 F.3d

13   935, 949 (9th Cir. 2014) (where purpose of “the injunction was to stop [defendant] from

14   attacking the Plaintiffs’ vessels,” defendant “thwarted that objective by furnishing

15   other . . . entities with the means to do what it could not after the issuance of the injunction”);

16   McComb v. Jacksonville Paper Co., 336 U.S. 187, 192 (1949) (“It does not lie in their mouths

17   to say that they have an immunity from civil contempt because the plan or scheme which they

18   adopted was not specifically enjoined. Such a rule would give tremendous impetus to the

19   program of experimentation with disobedience of the law[.]”). Here, termination of

20   Seattle Children’s Hospital’s NIH grant directly contravened the purpose of this Court’s TRO

21   and PI to prohibit Defendants from financially punishing entities for providing gender-affirming

22   care. That constitutes contempt of Court.

23          And the connection between the termination of the grant and the enjoined orders is clear

24   based on NIH’s own words. NIH terminated the grant because it had to do with “gender identity”

25   (Dkt.#244-1 p.2) and “Transgender issues” (Dkt.#244-2 p.6). Section 4 of the Denial-of-Care

26   Order purports to defund institutions that provide gender-affirming care (Dkt.#17-1 p.3), which


     PLS.’ REPLY ISO MOT. FOR                         2                ATTORNEY GENERAL OF WASHINGTON
                                                                            Complex Litigation Division
     CONTEMPT, SHORTENED TIME,                                              800 Fifth Avenue, Suite 2000
     AND ATTORNEYS’ FEES                                                        Seattle, WA 98104
                                                                                   (206) 464-7744
     NO. 2:25-cv-00244-LK
 1   Seattle Children’s Hospital does generally (Dkt.#243 p.8), as well as with the specific funding

 2   provided by the terminated grant (Dkt.#244 ¶8). Terminating this grant was without a doubt an

 3   implementation and enforcement of Section 4 of the Denial-of-Care Order enjoined by this

 4   Court’s TRO and PI. Defendants argue that the grant termination cannot be part of the

 5   unconstitutional coercion demanded by Section 4 because Seattle Children’s Hospital has not

 6   yet seen the rest of its NIH grants terminated. Dkt.#253 pp.7-8. This ignores, of course,

 7   Defendants’ announced plan to do just that, which Defendants do not contest. See Dkt.##245-5,

 8   245-6.

 9            The termination violates the injunction against enforcing Sections 3(e) and 3(g) of the

10   Gender-Ideology Order for the same reasons. Defendants’ primary argument is that the tool

11   funded by the grant is not “care” of any kind, but is research instead. Dkt.#253 pp.8-11. This is

12   wrong two ways: it misreads the injunction and misunderstands medical research. Defendants

13   were enjoined from conditioning or withholding any federal funding, including research funding,

14   “based on the fact that a health care entity or health care professional provides gender-affirming

15   care.” Dkt.#233 p.53. The research funded by the grant is research that institutions performing

16   gender-affirming care are uniquely situated to provide. Dkt.#244 ¶¶4-9. In the same way that

17   cancer research can only be conducted by doctors and hospitals that treat cancer patients, gender-

18   affirming care research can only be conducted by doctors and hospitals that provide gender-

19   affirming care. Defendants also misunderstand what medical research is. Dr. Ahrens specifically

20   refutes Defendants’ argument, explaining that after the clinical trial patients pilot it, patients in

21   the control group will also be given the care “after the trial ends,” conclusively showing that the

22   gender-affirming intervention funded by the grant is for the dual purposes of research and

23   provision of medical care. Id. ¶8. For both the test group and eventually the control group,

24   “[r]esearch of this kind involves the provision of healthcare as part of the research itself.” Id.;

25   see also National Library of Medicine, Learn About Studies, https://clinicaltrials

26   .gov/study-basics/learn-about-studies#ClinicalTrials (last accessed March 13, 2025) (NIH’s


     PLS.’ REPLY ISO MOT. FOR                          3                 ATTORNEY GENERAL OF WASHINGTON
                                                                              Complex Litigation Division
     CONTEMPT, SHORTENED TIME,                                                800 Fifth Avenue, Suite 2000
     AND ATTORNEYS’ FEES                                                          Seattle, WA 98104
                                                                                     (206) 464-7744
     NO. 2:25-cv-00244-LK
 1   definition of “intervention study” emphasizes participants “receive one or more

 2   intervention/treatment” to evaluate “health-related outcomes”).

 3          To avoid this Court’s injunction, Defendants argue that “gender-affirming care” as used

 4   in the injunction against the Gender-Ideology Order means only the services defined as

 5   “chemical and surgical mutilation” in the Denial-of-Care Order. Dkt.#253 pp.10-11. But this

 6   ignores the record. Therapists, counselors and others gave testimony to the Court about the

 7   gender-affirming care they provide. See, e.g., Dkt.#109 ¶6; Dkt.#77 ¶7; Dkt.#73 ¶11; Dkt.#99

 8   ¶¶6-10; Dkt.#108 ¶¶4-7; Dkt.#83 ¶3-9; Dkt.#98 ¶7; Dkt.#106 ¶¶5-12; Dkt.#203 ¶¶5-6.

 9   According to Physician Plaintiff 3, “gender-affirming care” “includes mental health support and

10   treatment.” Dkt.#15 ¶11. Dr. Shumer, the Plaintiffs’ expert, agrees. Dkt.#19 ¶40. This Court has

11   already acknowledged the multifaceted, multidisciplinary approach used by providers of gender-

12   affirming care. Dkt.#233 p.51 (holding that an injunction protecting all providers in the

13   Plaintiff States was necessary because “a multidisciplinary approach is frequently necessary to

14   address patients’ medical needs” and “anything less than a statewide injunction would risk

15   impacting some members of patients’ care teams, but not others”). The Court’s order nowhere

16   is limited to the listed services, and Defendants’ effort to so limit it ignores the Court’s explicit

17   holding that this entire group of providers is being targeted by the federal government, and the

18   entire group therefore needs the Court’s protection. Id.

19          Defendants next contend that even though they wrongly construed the scope of this

20   Court’s order, their misinterpretation was in good faith. Dkt.#253 pp.11-12. But this Court has

21   rightly noted that the Orders blatantly discriminate against transgender people (Dkt.#233 p.29)

22   and there is no good-faith way to say that “Transgender issues” have no “return on investment,”

23   Dkt.#244-2 p.6. Moreover, as detailed above, Defendants’ ex post interpretation of their

24   obligations would allow them to cancel grants based on ipse dixit (and, given their position on

25   discovery, un-examinable) claims that the agency actually acted on its own initiative.

26   See Dkt.##245-2, 245-5, 245-6, 245-8, 245-9 (tweets, media reporting, and further threats to


     PLS.’ REPLY ISO MOT. FOR                          4                 ATTORNEY GENERAL OF WASHINGTON
                                                                              Complex Litigation Division
     CONTEMPT, SHORTENED TIME,                                                800 Fifth Avenue, Suite 2000
     AND ATTORNEYS’ FEES                                                          Seattle, WA 98104
                                                                                     (206) 464-7744
     NO. 2:25-cv-00244-LK
 1   cancel funding based on the Orders). The United States government should know better.

 2   United States v. Sumitomo Marine & Fire Ins. Co. Ltd., 617 F.2d 1365, 1370 (9th Cir. 1980)

 3   (chiding the government to “set the example of compliance with Court orders”) (cleaned up).

 4          Moreover, even the slightest prodding reveals Defendants’ claimed basis for termination

 5   is a sham. The termination letter says that the grant is “terminated pursuant to the 2022 [NIH]

 6   Grants Policy Statement,” but that statement explicitly prohibits discrimination on the basis of

 7   gender identity. National Institutes of Health, NIH Grants Policy Statement at IIA-14 (2022),

 8   https://grants.nih.gov/grants/policy/nihgps/nihgps_2022.pdf. There is no policy of denying grant

 9   funding to research on “Transgender issues.” Compare id. with Dkt.#244-2 p.6. And of course,

10   Defendants have no explanation for why this research project was consistent with NIH’s

11   priorities when it was first granted, but is suddenly so antithetical to them as to warrant

12   termination and claw-back. Defendants are left with a federal regulation that permits termination

13   “to the extent authorized by law, if an award no longer effectuates the program goals or agency

14   priorities.” 2 C.F.R. § 200.340(a)(4). But, as this Court held, stigmatizing gender-affirming care

15   and trying to erase it via funding cuts is not authorized by law. See Dkt.#233 pp.29-46.

16          Finally, even leaving all that aside, Defendants unambiguously violated this Court’s PI

17   by issuing a notice threatening to terminate funding for, among other things, children’s hospitals

18   in the Plaintiff States in reliance on the Denial-of-Care Order. Dkt.#243 pp.3-6. Like a bad dog

19   trying to avoid eye contact, Defendants consign their response to a footnote. Dkt.#253 p.12 n.3.

20   They contend the notices “merely inform interested parties of HHS’s concerns” about providing

21   gender-affirming care. Id. Nonsense. They explicitly threaten institutions with loss of funding if

22   they do not abide by the Orders this Court has enjoined. Dkt.##245-8, 245-9. If this doesn’t count

23   as “implementing” the Denial-of-Care Order, it’s hard to imagine what does.

24   B.     Defendants’ Response Shows, at Minimum, Plaintiffs Must Have Discovery

25          Defendants do not deny that NIH is systematically defunding grants related to

26   gender-affirming care. See Dkt.#253 p.14; see also Dkt.##245-2, 245-6, 245-7. And they


     PLS.’ REPLY ISO MOT. FOR                         5                ATTORNEY GENERAL OF WASHINGTON
                                                                            Complex Litigation Division
     CONTEMPT, SHORTENED TIME,                                              800 Fifth Avenue, Suite 2000
     AND ATTORNEYS’ FEES                                                        Seattle, WA 98104
                                                                                   (206) 464-7744
     NO. 2:25-cv-00244-LK
 1   simultaneously argue that discovery to uncover the extent of their law-breaking behavior is not

 2   necessary because civil contempt is an objective standard, citing Taggart v. Lorenzen, 587 U.S.

 3   554, 561 (2019). Dkt.#253 pp.13-14. But Taggart held that “a party’s subjective belief that she

 4   was complying with an order ordinarily will not insulate her from civil contempt if that belief

 5   was objectively unreasonable.” 587 U.S. at 561. Here, Plaintiffs are not asking for discovery to

 6   uncover whether Defendants believe they are complying with the Court’s orders. Plaintiffs agree

 7   Defendants’ belief is irrelevant. Plaintiffs are asking for discovery about what steps Defendants

 8   are taking to terminate grants that fund research and health care for transgender people, and why

 9   they are taking those steps. Because if, as Plaintiffs suspect and as supported by Defendants’

10   recent round of threatening letters, Defendants are embarking on a wholesale defunding of all

11   gender-affirming care in the United States, that would violate this Court’s orders, and Plaintiffs

12   need discovery about what they’re doing and why.

13   C.     The Court Should Award Attorneys’ Fees

14          Defendants argue that an award of attorneys’ fees are barred by sovereign immunity and

15   cite Barry v. Bowen, 884 F.2d 442 (9th Cir. 1989). Dkt.#253 pp.14-15. But Barry was limited to

16   coercive contempt sanctions under the Equal Access to Justice Act, not the compensatory award

17   authorized by this Court’s inherent powers that Plaintiffs request. See 884 F.2d at 443-444. And,

18   Defendants themselves acknowledge that in the Ninth Circuit “[s]overeign immunity does not

19   bar a court from imposing monetary sanctions under an exercise of its supervisory powers.”

20   United States v. Woodley, 9 F.3d 774, 782 (9th Cir. 1993). They argue that Woodley’s holding

21   is limited to sanctions for the violation of constitutional rights, but that isn’t so. Woodley

22   recognized that exercise of the Court’s inherent supervisory power “can be justified only when

23   a recognized right has been violated.” Id. (cleaned up, emphasis added). Here, the recognized

24   rights are those in the Court’s TRO and PI, which themselves were grounded in Defendants’

25   violations of the Fifth Amendment and constitutional separation of powers. The Court has ample

26   authority to award Plaintiffs’ their attorneys’ fees necessary to bring this motion.


     PLS.’ REPLY ISO MOT. FOR                         6                ATTORNEY GENERAL OF WASHINGTON
                                                                            Complex Litigation Division
     CONTEMPT, SHORTENED TIME,                                              800 Fifth Avenue, Suite 2000
     AND ATTORNEYS’ FEES                                                        Seattle, WA 98104
                                                                                   (206) 464-7744
     NO. 2:25-cv-00244-LK
 1          Defendants also complain that timesheets were not provided with Plaintiffs’ motion.

 2   Comprehensive timesheets were not available prior to this reply and they are provided now.

 3   Supp. Decl. Bowers Ex. A. Plaintiffs do not object to a short sur-reply to permit Defendants to

 4   respond to Plaintiffs’ evidence of attorneys’ fees.

 5                                       III.    CONCLUSION

 6          The Court should grant Plaintiffs’ motion.

 7          DATED this 14th day of March 2025.

 8                                                 I certify that this memorandum contains 2,097
                                                   words, in compliance with the Local Civil Rules.
 9
                                                   NICHOLAS W. BROWN
10                                                 Washington State Attorney General
11                                                 /s/ William McGinty
                                                   WILLIAM MCGINTY, WSBA #41868
12                                                 CYNTHIA ALEXANDER, WSBA #46019
                                                   TERA HEINTZ, WSBA #54921
13                                                 ANDREW R.W. HUGHES, WSBA #49515
                                                   NEAL LUNA, WSBA #34085
14                                                 CRISTINA SEPE, WSBA #53609
                                                   LUCY WOLF, WSBA #59028
15                                                 Assistant Attorneys General
                                                   800 Fifth Avenue, Suite 2000
16                                                 Seattle, WA 98104-3188
                                                   (206) 464-7744
17                                                 William.McGinty@atg.wa.gov
                                                   Cynthia.Alexander@atg.wa.gov
18                                                 Tera.Heintz@atg.wa.gov
                                                   Andrew.Hughes@atg.wa.gov
19                                                 Neal.Luna@atg.wa.gov
                                                   Cristina.Sepe@atg.wa.gov
20                                                 Lucy.Wolf@atg.wa.gov
                                                   Attorneys for Plaintiff State of Washington
21

22

23

24

25

26


     PLS.’ REPLY ISO MOT. FOR                         7               ATTORNEY GENERAL OF WASHINGTON
                                                                           Complex Litigation Division
     CONTEMPT, SHORTENED TIME,                                             800 Fifth Avenue, Suite 2000
     AND ATTORNEYS’ FEES                                                       Seattle, WA 98104
                                                                                  (206) 464-7744
     NO. 2:25-cv-00244-LK
 1                               /s/ Lauryn K. Fraas
                                 LAURYN K. FRAAS, WSBA #53238
 2                               COLLEEN MELODY, WSBA #42275
                                 Assistant Attorneys General
 3                               800 Fifth Avenue, Suite 2000
                                 Seattle, WA 98104-3188
 4                               (206) 464-7744
                                 Lauryn.Fraas@atg.wa.gov
 5                               Colleen.Melody@atg.wa.gov
                                 Attorneys for Physician Plaintiffs 1-3
 6

 7                               KEITH ELLISON
                                 State of Minnesota Attorney General
 8
                                 /s/ James W. Canaday
 9                               JAMES W. CANADAY (admitted pro hac vice)
                                 Deputy Attorney General
10                               445 Minnesota St., Ste. 600
                                 St. Paul, Minnesota 55101-2130
11                               (651) 757-1421
                                 james.canaday@ag.state.mn.us
12                               Attorney for Plaintiff State of Minnesota

13
                                 DAN RAYFIELD
14                               State of Oregon Attorney General

15                               /s/ Allie M. Boyd
                                 ALLIE M. BOYD, WSBA #56444
16                               Senior Assistant Attorney General
                                 Trial Attorney
17                               1162 Court Street NE
                                 Salem, OR 97301-4096
18                               (503) 947-4700
                                 allie.m.boyd@doj.oregon.gov
19                               Attorney for Plaintiff State of Oregon

20                               PHIL WEISER
                                 Attorney General of Colorado
21
                                 /s/ Shannon Stevenson
22                               SHANNON STEVENSON (admitted pro hac vice)
                                 Solicitor General
23                               Office of the Colorado Attorney General
                                 1300 Broadway, #10
24                               Denver, CO 80203
                                 (720) 508-6000
25                               shannon.stevenson@coag.gov
                                 Attorney for Plaintiff State of Colorado
26


     PLS.’ REPLY ISO MOT. FOR       8                ATTORNEY GENERAL OF WASHINGTON
                                                          Complex Litigation Division
     CONTEMPT, SHORTENED TIME,                            800 Fifth Avenue, Suite 2000
     AND ATTORNEYS’ FEES                                      Seattle, WA 98104
                                                                 (206) 464-7744
     NO. 2:25-cv-00244-LK
